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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION


BILLIE MONROE                             §
                     Plaintiff            §
                                          §
vs.                                       §        CIVIL ACTION NO. 2:11-CV-329
                                          §
WAL-MART STORES TEXAS, LLC                §
             Defendant                    §


                         JOINT FINAL PRE-TRIAL ORDER

       This cause came before the Court at a pre-trial management conference held on

December 17, 2012, pursuant to Local Rule CV-16 and Rule 16 of the Federal Rules of

Civil Procedure.

A.     COUNSEL FOR PARTIES

       Plaintiff:             Mark P. McMahon
                              ERSKINE & McMAHON, LLP
                              521 North Second Street
                              Longview, Texas 75601
                              903-757-8435
                              903-757-9429 (fax)

       Defendant:             Brandon Cogburn
                              ATCHLEY, RUSSELL, WALDROP & HLAVINKA, LLP
                              1710 Moores Lane
                              Texarkana, Texas 75503
                              903-792-8246
                              903-792-5801 (fax)




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B.     STATEMENT OF JURISDICTION

       Jurisdiction in this case is based on diversity of citizenship under Title 28 U.S.C. §
       1332.

       Jurisdiction is not disputed.

C.     NATURE OF ACTION

       This is a premises liability case wherein the Plaintiff seeks damages for personal
       injuries sustained when she slipped and fell at the Walmart in Paris, Texas.

D.     CONTENTIONS OF THE PARTIES

       Plaintiff contends she was injured as result of the negligence of Wal-Mart and its
       employees. Wal-Mart was negligent :

       (1)    allowing water to accumulate on the floor near the egg case where Billie
              Monroe fell;
       (2)    failing to warn customers that water had accumulated at the spot Billie
              Monroe fell;
       (3)    failing to implement and carry out safety procedures to prevent and warn of
              water on the floor.

       The negligence of Wal-Mart was proximate cause of Billie Monroe’s fall and injuries.
       Billie Monroe has had to incur medical care and treatment and has suffered as a result
       of Wal-Mart’s negligence.

       Wal-Mart contends that it did not have actual or constructive knowledge of any liquid
       substance on the floor which posed an unreasonable risk of harm to Plaintiff. Wal-
       Mart further contends that it exercised reasonable care to reduce or eliminate any risk.
       Thus, there was no failure on Wal-mart’s part which proximately caused Plaintiff’s
       injuries.

E.     STIPULATIONS AND UNCONTESTED FACTS

              (1)    Plaintiff was an invitee of Wal-mart in Paris, Texas on August 1, 2009.

              (2)    Plaintiff fell while in Wal-Mart on August 1, 2009.


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              (3)    Plaintiff not see anything on the floor before she slipped.

              (4)    Plaintiff does not know what was on the floor.

              (5)    Plaintiff does not know where the alleged foreign substance came from.

              (6)    Plaintiff does not know how long the alleged foreign substance had
                     been on the floor.

              (7)    A Wal-Mart associate was working two feet from where Plaintiff fell
                     and had been there for five to ten minutes prior to Plaintiff’s fall.

              (8)    The same Wal-Mart associate who was working in the area did not see
                     anything on the floor.

              (9)    A different Wal-Mart employee said the water dripped from the
                     ceiling.

F.     CONTESTED ISSUES OF FACT AND LAW

       To recover in a slip and fall case, a Plaintiff must establish:

              (1)    Actual or constructive knowledge of some condition on the premises
                     by the owner/operator;

              (2)    That the condition posed an unreasonable risk of harm;

              (3)    That the owner/operator did not exercise reasonable care to reduce or
                     eliminate the risk; and

              (4)    That the owner/operator’s failure to use such care proximately caused
                     the Plaintiff’s injuries.

       In order to establish actual or constructive knowledge of a substance on the floor, a
       slip-and-fall Plaintiff must establish at least one of the following:

              (1)    That the Defendant placed a foreign substance on the floor;

              (2)    That the Defendant knew that a foreign substance was on the floor and
                     willfully or negligently failed to remove it; or

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              (3)    That the foreign substance had been on the floor for such a period of
                     time that it would have been discovered and removed by the Defendant
                     in the exercise of ordinary care.

G.     LIST OF WITNESSES

              Billie Monroe
              HC 70, Box 1367
              Antlers, Oklahoma 74523

              Ronnie Monroe
              HC 70, Box 1367
              Antlers, Oklahoma 74523

              Bill Whisenhunt
              Wal-Mart Supercenter
              3855 Lamar Avenue
              Paris, Texas 75462

              J.D. Gantt
              Wal-Mart Supercenter
              3855 Lamar Avenue
              Paris, Texas 75462

              Preston Snow
              Wal-Mart Supercenter
              2701 Texas 50
              Commerce, Texas 75428

              Charles Bearden
              3910 Morningside Drive
              Paris, Texas 75462

H.     LIST OF EXHIBITS

              Plaintiff’s medical records Bates Stamped Nos. WM-0001 through WM-1278
              X-ray films
              Scans
              Wal-Mart policies and procedures

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              Medical Summary of Billing for Billie Monore
              Texas Workforce Commission records pertaining to Billie J. Monroe

I.     LIST OF ALL PENDING MOTIONS

              Defendant’s Motion for Summary Judgment

J.     PROBABLE LENGTH OF TRIAL

       The probable length of trial is 3 days.

K.     MANAGEMENT CONFERENCE LIMITATIONS

       none

L.     CERTIFICATIONS

       The undersigned counsel for each of the parties in this action do hereby certify and
       acknowledge the following:

              (1)    Full and complete disclosure has been made in accordance with the
                     Federal Rules of Civil Procedure and the Court’s orders;

              (2)    Discovery limitations set forth in the Federal Rules of Civil Procedure,
                     the Local Rules, and the Court’s orders have been complied with and
                     not altered by agreement or otherwise;

              (3)    Each exhibit in the List of Exhibits herein:

                     (a)      Is in existence;
                     (b)      Is numbered; and
                     (c)      Has been disclosed and shown to opposing counsel.


APPROVED AS TO FORM AND SUBSTANCE:

   /s/ Mark P. McMahon              (signed with permission)
Mark P. McMahon
Texas State Bar No. 13776500
Attorney for Plaintiff

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   /s/ Brandon Cogburn
Brandon Cogburn
Texas State Bar No. 24038824
Attorney for Defendant




        This Joint Pre-Trial Order is hereby approved this _____ day of ______________,
2012.




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